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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
JILL STEIN, et al.,                                :
                                                   :    CIVIL ACTION
                                                   :
                              Plaintiffs,
                                                   :
                      v.                           :    No. 16-cv-6287(PD)
KATHY BOOCKVAR, in her official capacity           :
as Secretary of the Commonwealth, and              :
JONATHAN MARKS, in his official capacity           :
as Commissioner of the Bureau of                   :
Commissions, Elections and Legislation,            :
                                                   :
                              Defendants.          :
                                                   :
                                                   :

                                     [PROPOSED] ORDER


       AND NOW, this _____ day of January, 2020, upon consideration of Defendants’ Motion

in Limine to Preclude Unidentified “Rebuttal” Witnesses, Individual Voter Testimony, and

Evidence of ExpressVote XL Performance During the November 2019 Elections in Northampton

County (the “Motion in Limine”), it is hereby ORDERED that the Motion in Limine is

GRANTED.

       IT IS FURTHER ORDERED that during the January 21, 2020 evidentiary hearing,

Plaintiffs are precluded from 1) calling witnesses they did not identify on their January 12, 2020

witness list; 2) presenting the testimony of individual voters Vienna Linderman, Joni Lipson, or

Scott McCarthy; and 3) introducing or making reference to any evidence of the performance of

ExpressVote XL voting machines in Northampton County’s November 2019 elections.




                                                       Paul S. Diamond, J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
JILL STEIN, et al.,                                :
                                                   :   CIVIL ACTION
                                                   :
                              Plaintiffs,
                                                   :
                      v.                           :   No. 16-cv-6287(PD)
KATHY BOOCKVAR, in her official capacity           :
as Secretary of the Commonwealth, and              :
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as Commissioner of the Bureau of                   :
Commissions, Elections and Legislation,            :
                                                   :
                              Defendants.          :
                                                   :
                                                   :

DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE UNIDENTIFIED “REBUTTAL”
     WITNESSES, INDIVIDUAL VOTER TESTIMONY, AND EVIDENCE OF
EXPRESSVOTE XL PERFORMANCE DURING THE NOVEMBER 2019 ELECTIONS
                     IN NORTHAMPTON COUNTY

       Defendants hereby move for an Order in Limine precluding Plaintiffs from 1) calling

witnesses they did not identify on their January 12, 2020 witness list; 2) presenting the testimony

of individual voters Vienna Linderman, Joni Lipson, or Scott McCarthy; and 3) introducing or

making reference to any evidence of the performance of ExpressVote XL voting machines in

Northampton County’s November 2019 elections during the evidentiary hearing on Plaintiffs’

Motion to Enforce the Settlement Agreement (ECF 112), to be held on January 21, 2020, and

precluding Plaintiffs, their counsel, and their witnesses from referring to such evidence during

the hearing. The grounds for this motion are set forth in the accompanying Memorandum of

Law.
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       WHEREFORE, Defendants respectfully request that the Court grant Defendants’ Motion

in Limine.

                                          HANGLEY ARONCHICK SEGAL PUDLIN &
                                          SCHILLER


                                          By: /s/ Robert A. Wiygul
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                                                Counsel for Defendants




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
JILL STEIN, et al.,                                    :
                                                       :   CIVIL ACTION
                                                       :
                               Plaintiffs,
                                                       :
                       v.                              :   No. 16-cv-6287(PD)
KATHY BOOCKVAR, in her official capacity               :
as Secretary of the Commonwealth, and                  :
JONATHAN MARKS, in his official capacity               :
as Commissioner of the Bureau of                       :
Commissions, Elections and Legislation,                :
                                                       :
                               Defendants.             :
                                                       :
                                                       :

                MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE UNIDENTIFIED “REBUTTAL”
     WITNESSES, INDIVIDUAL VOTER TESTIMONY, AND EVIDENCE OF
EXPRESSVOTE XL PERFORMANCE DURING THE NOVEMBER 2019 ELECTIONS
                     IN NORTHAMPTON COUNTY

       I.       INTRODUCTION

       The issue before this Court is whether the Commonwealth’s certification of the

ExpressVote XL violated the terms of the parties’ Settlement Agreement. To aid in its inquiry

into that issue, this Court has instructed the Parties to present evidence on eight clearly identified

factual questions at a hearing before the Court on January 21, 2020. The topics the Court has

listed relate to the meaning of the Settlement Agreement’s terms, the Parties’ conduct,

knowledge, and communications leading up to and surrounding the certification of the

ExpressVote XL system, the timing of Plaintiffs’ Motion to Enforce, and the potential

consequences of granting the relief Plaintiffs seek.

       Plaintiffs have indicated that they will seek to present evidence that is irrelevant to the

issues before the Court. In their Pre-Evidentiary Hearing Memorandum, Plaintiffs state that they
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intend to call three individual voter witnesses to testify, apparently, about their individual voting

experiences. In their Motion to Enforce the Settlement Agreement (“Motion to Enforce”),

Plaintiffs make various factual claims about, and attach documents regarding, the performance of

ExpressVote XL voting machines during the November 5, 2019 elections held in Northampton

County, Pennsylvania. This evidence is not relevant to the specific topics identified in this

Court’s December 20, 2019 Order outlining the subjects of the hearing, or to the broader

question of whether the Commonwealth’s certification of the ExpressVote XL violated the

Settlement Agreement. These witnesses and this evidence should thus be precluded, and

Plaintiffs, their counsel, and their witnesses should be prohibited from referring to any such

evidence at the hearing.

       Plaintiffs have also defied the Court’s instruction to identify their witnesses on the topics

the Court has outlined. Instead, they claim that they have broad latitude to call unidentified

“rebuttal” witnesses to testify about the very issues that the Court has identified. Plaintiffs are

incorrect; the Court’s Order was clear, and no legal doctrine justifies Plaintiffs’ failure to identify

their witnesses.

       II.     LEGAL ARGUMENT

               A.      The Court Should Preclude Plaintiffs From Calling Witnesses That
                       They Have Refused to Identify

       Plaintiffs improperly seek to reserve a general right to call “Rebuttal Witnesses,” and in

particular to call unidentified witnesses “on the issues of feasibility…and of laches after

Defendants present evidence on these affirmative defenses.” Plaintiffs’ Pre-Evidentiary Hearing

Memorandum at 4-5. The Court should not allow Plaintiffs to withhold information about their

witnesses.




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       The Court explicitly ordered the Parties to address the issues of feasibility and laches, to

“be prepared to call witnesses (and present evidence) who can address” these issues, and to

identify their witnesses on January 13. See December 20, 2019 Order (ECF 136), ¶ 4. The

parties have fully briefed these issues. There is no element of mystery or confusion as to the

Parties’ positions, and the Court has made very clear that it wishes to hear evidence from both

Parties. Plaintiffs have all of the information they need at this point to identify the relevant

witnesses and evidence for presentation at the hearing. Plaintiffs’ improper request to extend

indefinitely their opportunity to identify potential witnesses on these well-defined and specific

topics, and call them to testify at the last minute without warning to Defendants, is a transparent

attempt to avoid the requirements of this Court’s Order. There is no legal justification for this

maneuver, and the Court should not accept it.

       Plaintiffs argue that it is more appropriate to have Plaintiffs present their evidence on the

defenses of feasibility and laches after Defendants present evidence on these issues. The Court,

however, has already determined how evidence will be presented: “Plaintiffs, as the moving

Parties, will make their hearing presentation first,” without exception for affirmative defenses.

Order, ¶ 5.

       Plaintiffs also suggest that they are not required to identify their “rebuttal” witnesses.

But there is no generalized, unfettered right to present rebuttal evidence in response to evidence

put forward by the opposing party. Rather, “[t]he ‘purpose of rebuttal testimony is to explain,

repel, counteract or disprove the evidence of the adverse party.’” Vay v. Huston, 725 Fed. Appx.

112, 117 (3d Cir. 2018) (quoting United States v. Chrzanowski, 502 F.2d 573, 576 (3d Cir.

1974)). In particular, the Court can decline to hear rebuttal evidence “[w]hen plaintiffs [ ] seek

to rebut defense theories which they knew about or reasonably could have anticipated…” Koch




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v. Koch Industries, Inc., 203 F.3d 1202, 1224 (10th Cir. 2000). Plaintiffs should not be permitted

to reserve the right to sandbag Defendants by invoking the concept of rebuttal evidence in their

pre-hearing submission, particularly where the topics to be addressed at the hearing are so

narrowly and clearly defined and Plaintiffs have already received a detailed preview of

Defendants’ theories.

       Accordingly, the Court should preclude Plaintiffs from calling unidentified witnesses,

“rebuttal” or otherwise, at the hearing.

               B.       Plaintiffs’ Individual Voter Witnesses Should Not Be Permitted to
                        Testify

       The Court should prohibit Plaintiffs from calling Vienna Linderman, Joni Lipson, and

Scott McCarthy—three individuals who are purportedly registered voters in Philadelphia County

and who used the ExpressVote XL to vote in 2019—as witnesses at the January 21 hearing

because these witnesses are not capable of testifying as to any relevant evidence or giving

reliable opinion testimony. Plaintiffs state that these witnesses “ha[ve] knowledge of how the

[ExpressVote XL] system works and whether the vote is voter-verifiable in practice under real-

world conditions.” Plaintiffs’ Pre-Evidentiary Hearing Memorandum at 6. Three non-party

individuals who each have a singular experience voting on an ExpressVote XL voting machine

are not capable of providing reliable, probative testimony regarding whether the machine

complies with the Settlement Agreement’s criteria. Their testimony is irrelevant, and is not

reliable opinion testimony because it is not helpful to determining a fact in issue. See Fed. R.

Evid. 401, 701.

       The issue of whether a voter is able to verify her vote when using the ExpressVote XL

system depends on a broad-based evaluation of voters’ experience with this system. It requires

accounting for many different factors that influence voters’ experience when voting on the



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ExpressVote XL. The isolated experiences of three individuals, out of the hundreds of thousands

of Pennsylvania voters who cast votes on the ExpressVote XL in November 2019, offer, at best,

idiosyncratic, anecdotal windows into the wide range of possible voter experiences using these

machines. The opinions of three individuals who voted in the November 2019 elections in

Philadelphia about whether the vote on the ExpressVote XL machine is verifiable do not

constitute reliable evidence on this issue. These opinions do not tend to make it more or less

likely that the ExpressVote XL produces a “voter-verifiable record” of each vote as required by

the Settlement Agreement. See Fed. R. Evid. 401. Nor are these opinions helpful to determining

whether the ExpressVote XL produces a “voter-verifiable record” of each vote, or any other fact

at issue. See Fed. R. Evid. 701. All the individual voter testimony will do is prolong the

hearing, as Defendants will seek to call three (or more) individual voters to testify that they

experienced no difficulty with the machines. This exercise would do nothing to illuminate the

dispositive issues, but much to waste the Court’s time.

               C.      The Court Should Preclude Plaintiffs From Introducing Evidence of
                       The Problems with The Performance of ExpressVote XL Voting
                       Machines During The November 2019 Elections in Northampton
                       County

       The Court should preclude evidence of problems with the performance of ExpressVote

XL voting machines during the November 2019 elections in Northampton County because it is

not relevant to the issues at hand. That is, this evidence does not tend to make it more or less

probable that the Commonwealth’s certification of the ExpressVote XL voting machine violated

the Settlement Agreement, or bear on any of the specific issues outlined in this Court’s

December 20, 2019 Order. See Fed. R. Evid. 401.

       Plaintiffs utterly fail to explain the relevance of the problems with the performance of the

ExpressVote XL voting machines in Northampton County to the question of whether the



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certification of this system violated the Settlement Agreement. Plaintiffs cannot offer any such

explanation because none exists. Plaintiffs fail even to identify specifically what problems

occurred with the performance of the ExpressVote XL voting machines in Northampton County.

They vaguely assert that when Northampton County used ExpressVote XL voting machines

during the November 2019 elections, “[v]oters reported widespread ‘irregularities’ with the

machine.” Motion to Enforce at 3. To the extent that Exhibits G, H, and I to the Motion to

Enforce shed more light on the precise issues with the Northampton County election, it is clear

that the “irregularities” that occurred are completely unrelated to either the ways in which

Plaintiffs claim the certification of this voting machine system violates the requirements set forth

in the Settlement Agreement or the list of topics this Court has ordered the Parties to address at

the hearing.

       Plaintiffs assert that certification of the ExpressVote XL voting machine violated the

Settlement Agreement because certain structural characteristics of this system are inconsistent

with the mandates of the Settlement Agreement. The “irregularities” experienced in

Northampton County involved a few discrete issues which are not related to these structural

characteristics. Specifically, there was apparently a tabulation problem which caused votes for

certain candidates in certain races to be undercounted, and an issue with the functionality of the

touchscreens that voters interact with. See Motion to Enforce, Exhs. G, H, and I; Boockvar Decl.

in Support of Defendants’ Response in Opposition to Motion to Enforce, ¶ 71; Baumert Decl. in

Support of Defendants’ Response in Opposition to Motion to Enforce, ¶¶ 61-68. Neither of these

issues could have possibly resulted from, or have been in any way related to, the ExpressVote

XL voting machine not producing a “voter-verifiable record of each vote,” not using a “paper

ballot,” or not supporting robust pre-certification auditing of election results. See Motion to




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Enforce the Settlement Agreement at 2, 6-7. Much to the contrary, both of these problems

reflect temporary disruptions to the proper working order of the ExpressVote XL voting

machines in use in Northampton County.

       The issues with the performance of the ExpressVote XL voting machines in Northampton

County also do not bear on the specific factual questions identified by the Court as the subject of

the January 21 hearing. The problems experienced in Northampton County do not illuminate the

meaning of the Settlement Agreement terms, the Parties’ conduct, knowledge, and

communications leading up to and surrounding the certification of the ExpressVote XL system,

or the timing of Plaintiffs’ Motion to Enforce and potential prejudice resulting therefrom. In

fact, it is only because the ExpressVote XL voting machines do comply with the requirements set

forth in the Settlement Agreement—in that they produce a voter-verifiable record of each vote—

that Northampton County was able to properly count the results of the November 5, 2019

elections despite the lapse in the proper functioning of the machines. See Motion to Enforce,

Exhs. G, H, and I; Boockvar Decl. in Support of Response Motion to Enforce, ¶ 72; Baumert

Decl. in Support of Response to Motion to Enforce, ¶¶ 69-70.

       Not only is evidence of the malfunctioning of ExpressVote XL voting machines during

the November 2019 elections in Northampton County not relevant to the issues that will be

before the Court during the hearing, allowing this evidence would likely result in a hotly

contested mini-trial within the hearing dedicated to what exactly happened in Northampton

County, serving only to waste the Court’s time and distract from the real issues at hand. See Fed.

R. Evid. 403.




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      The Court should therefore preclude the introduction of any evidence relating to the

issues with the performance of ExpressVote XL voting machines in Northampton County in

November 2019.

      III.   CONCLUSION

      Defendants respectfully request that this Court enter the attached Order.

                                            Respectfully submitted,

                                             HANGLEY ARONCHICK SEGAL PUDLIN &
                                             SCHILLER


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2020, I caused the foregoing Defendants’ Motion in

Limine (to Preclude Unidentified “Rebuttal” Witnesses, Individual Voter Testimony, And

Evidence of ExpressVote XL Performance During The November 2019 Elections in

Northampton County) and memorandum of law in support thereof to be filed with the United

States District Court for the Eastern District of Pennsylvania via the Court’s CM/ECF system,

which will provide electronic notice to all counsel of record.



                                                       /s/ Robert A. Wiygul
                                                     Robert A. Wiygul
